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 6

 7                 IN THE UNITED STATES DISTRICT COURT
 8               FOR THE CENTRAL DISTRICT OF CALIFORNIA

 9 FREDERICK TAN, individually and on behalf   Case No. 2:20-cv-09370-JGB-SHK
   of all others similarly situated,
10                                             Judge: Hon. Jesus G. Bernal
11                      Plaintiff,
           vs.
12
   THE FOLGER COFFEE COMPANY,
13 a subsidiary of the J.M. SMUCKER
   COMPANY,
14
                        Defendant.
15
                                               Case No. 5:20-cv-00992-JGB-SHK
   SHELLY ASHTON, JAY SCHOENER, and
16 RAMON IBARRA, individually, and on          Judge: Hon. Jesus G. Bernal
   behalf of all others similarly situated,
17
                                                 DECLARATION OF LAURENCE
18               Plaintiffs,
                                                 D. PASKOWITZ IN SUPPORT OF
19         vs.                                   PLAINTIFF TAN’S MOTION TO
                                                 CONSOLIDATE CASES, APPOINT
20 THE J.M. SMUCKER CO., an Ohio                 A LEADERSHIP STRUCTURE
   corporation; THE FOLGER                       FOR PLAINTIFFS, PROVIDE FOR
21 COFFEE COMPANY, an Ohio
                                                 A CONSOLIDATED COMPLAINT,
22 corporation; and DOES 1 through 50,           AND SET BRIEFING SCHEDULE
   inclusive,
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                  Defendants.
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 1           I, Laurence D. Paskowitz, declare as follows:
 2           1.     I am a member of the Paskowitz Law Firm, P.C., co-counsel for
 3 Plaintiff Frederick Tan (“Plaintiff” or “Tan”). I have personal knowledge of the

 4 facts set forth herein and, if called as a witness, could and would testify

 5 competently thereto. I submit this declaration in support of Plaintiff Tan’s Motion

 6 to Consolidate Cases, Appoint a Leadership Structure for Plaintiffs, Provide for a

 7 Consolidated Complaint and Set Briefing Schedule. I am duly admitted in this

 8 case pro hac vice.

 9           2.     Plaintiff Tan filed his action on October 14, 2020. His class action
10 complaint alleges that Folgers violated California consumer statutes and the

11 common law by selling coffee products that misrepresent the number of servings

12 of coffee that can be obtained from a canister. Plaintiff retained an expert who is a

13 Ph.D. chemist with experience in the coffee industry and appropriate training in

14 mathematical measurements and testing to evaluate Plaintiff Tan’s claims. He
                                                                         1
15 confirmed they are valid, and well-supported. Complaint, ¶ 21.

16           3.     Although this case was originally assigned to Judge Fisher, on
17 October 21, 2020, Plaintiff’s case was transferred to this Court’s docket, as it was

18 deemed related to Ashton. Such a determination was made on the basis of
19 similarities between the two actions as detailed in Plaintiff’s Notice of Related

20 Cases filed in the Tan action and the Ashton action on October 19, 2020 (Dkt. Nos.

21 13 and 42, respectively). For example, the Ashton action, also commenced as a

22 class action, names Folgers as a defendant. Both the Ashton action and the Tan

23 action assert claims for violation of CLRA, FAL and UCL, as well as claims for

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         In Ashton, Defendant has asserted in its motion to dismiss that: “There is no
25 allegation that the Products are actually incapable of making the represented

26 amount of coffee.” (Dkt. No. 36 at 6). That criticism is answered by Tan’s expert,
     as cited in his Complaint at ¶¶ 10, 21-24.
27                                                2
                                                            Case No.: 2:20-cv-09370-JGB- (SHKx)
28                                                          Case No.: 2:20-cv-00992-JGB- (SHKx)
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 1 Breach          of Express and Implied Warranties, Intentional and Negligent
                                                                            2
 2 Misrepresentation, Quasi Contract/Unjust Enrichment/Restitution.

 3            4.     Plaintiff Tan submits that consolidation and appointment of a
 4 leadership structure for plaintiffs are appropriate and that the Court should enter a

 5 briefing schedule for the filing of a consolidated complaint and Folgers’

 6 anticipated motion(s) to dismiss.

 7            5.     Counsel in Ashton and Tan conferred telephonically on Monday,
 8 November 2, 2020, during which Tan’s counsel proposed consolidation of the

 9 actions and informal coordination between plaintiffs in this action and in an action

10 pending in the Southern District of Florida against Folgers in which Plaintiff is

11 represented by the same counsel who represent Plaintiff Tan in this California

12 action. That action is Sorin v. The Folger Coffee Co., Case No. 9:20-cv-80897, in

13 the U.S. District Court for the Southern District of Florida.

14            6.     On November 5, 2020, counsel in Ashton advised Plaintiff Tan’s
15 counsel that they did not believe consolidation was appropriate nor did they

16 support the appointment of a plaintiff leadership structure related thereto. Also on

17 November 5, 2020, counsel for Plaintiff Tan agreed by email with Defendant

18 Folgers that both Plaintiff Tan and Folgers support consolidation.                 Folgers,
19 however, does not join at this juncture in any request concerning leadership of the

20 action or an Order requiring and setting a date for the filing of a consolidated

21 complaint.

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         The Ashton action asserts additional New York claims on behalf of a subclass of
25 New York consumers, as well as a claim under the Magnuson-Moss Warranty

26 Action. However, Plaintiff’s counsel in the Tan Action are prosecuting a similar
     case against Folgers on behalf of a proposed class of Florida consumers.
27                                                3
                                                            Case No.: 2:20-cv-09370-JGB- (SHKx)
28                                                          Case No.: 2:20-cv-00992-JGB- (SHKx)
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 1        7.     The related actions present common issues of law and fact, and
 2 consolidation, along with the appointment of a plaintiff case management structure

 3 will promote the interests of justice, judicial economy, and efficiency.

 4        8.     The firms representing plaintiffs in the Ashton action and Tan action
 5 have    extensive knowledge and experience in litigating class and other
 6 representative actions. The experiences and previous successes of each of

 7 plaintiffs’ respective law firms will be brought to bear on the consolidated action.

 8 Indeed, an organizational structure appointing counsel from both the Tan action

 9 and Ashton action will enhance the benefits of consolidation and streamline the

10 case management process by ensuring that the interests of the California, New

11 York and Florida plaintiffs are represented. See Paskowitz Law Firm P.C. Firm

12 Resume attached as Exhibit A.

13        9.     Accordingly, Tan respectfully requests that the Court direct plaintiffs’
14 counsel in the related actions to confer and select one firm from the Tan action and

15 one firm from the Ashton action to represent plaintiffs in the consolidated action.

16        I declare under penalty of perjury that the foregoing is true and correct on
          th
17 this 13 day of November 2020.

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19                                          Laurence D. Paskowitz
                                            Laurence D. Paskowitz
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28                                                       Case No.: 2:20-cv-00992-JGB- (SHKx)
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